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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                  Eastern Division

Tracy Cohen
                                      Plaintiff,
v.                                                       Case No.: 1:24−cv−07046
                                                         Honorable Jeremy C. Daniel
Kering Americas, Inc., et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 16, 2024:


         MINUTE entry before the Honorable Jeffrey T. Gilbert: The Court reviewed the
parties' Joint Status Report [29]. The parties shall file an updated joint status report by
2/14/25 on their progress with written discovery. The parties' report shall also identify fact
witnesses that either side intends to depose before close of fact discovery, include any
confirmed or proposed dates for those depositions, and indicate whether settlement is a
realistic possibility, and if so, next steps in that regard. The parties do not agree on expert
discovery schedule [29]. Having reviewed both parties' proposed schedules, the Court has
decided to enter Defendant's schedule as appropriate to the needs of the case. Plaintiff
shall serve her Rule 26(a)(2) disclosures on or before 12/8/25. Defendant shall serve its
Rule 26(a)(2) disclosures on or before 1/12/26. Plaintiff may serve an additional Rule
26(a)(2) disclosure for the sole purpose of identifying any witnesses offered to rebut one
or more of the witnesses identified in Defendant's Rule 26(a)(2) disclosures on or before
1/26/26. A "reply" Rule 26(a)(2) disclosure may be served with leave of Court. Expert
discovery, including depositions of all expert witnesses, shall close on 2/27/26. Mailed
notice(ber, )




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